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                                   #:76134



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16   Attorneys for Plaintiffs,
     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17
                      IN THE UNITED STATES DISTRICT COURT
18
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                  SOUTHERN DIVISION
20
21   MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and             )
22   CERCACOR LABORATORIES, INC.,            ) DECLARATION OF KENDALL M.
     a Delaware corporation                  ) LOEBBAKA IN SUPPORT OF
23                                           ) PLAINTIFFS’ MOTION FOR
                  Plaintiffs,                ) PARTIAL SUMMARY JUDGMENT
24                                           )
            v.                               ) Date:        February 6, 2023
25                                           ) Time:        1:30 p.m.
     APPLE INC., a California corporation    ) Location: Courtroom 10C
26                                           )
                  Defendant.                 ) REDACTED VERSION OF
27                                           ) DOCUMENT PROPOSED TO BE
                                             )
                                                FILED UNDER SEAL
28
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1
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1           I, Kendall M. Loebbaka, hereby declare:
2           1.       I am a partner in the law firm of Knobbe, Martens, Olson & Bear, LLP,
3    and Counsel for Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.
4    (collectively, “Masimo”) in this action. I have personal knowledge of the matters set
5    forth in this Declaration and, if called upon as a witness, would testify competently
6    thereto. I submit this Declaration in support of Masimo’s Motion for Partial Summary
7    Judgment.
8           2.       Attached hereto as Exhibit 1 [filed under seal] is a true and correct copy
9    of an email from Marcelo Lamego to Joe Kiani dated July 21, 2006, bearing Bates
10   Number MASA00335690 kept in the ordinary course of business and produced by
11   Plaintiffs in this case.
12          3.       Attached hereto as Exhibit 2 [filed under seal] is a true and correct copy
13   of an email chain culminating in an email from Joe Kiani to Marcelo Lamego dated
14   September 28, 2013, bearing Bates Numbers MASA03363032-033 kept in the ordinary
15   course of business and produced by Plaintiffs in this case.
16          4.       Attached hereto as Exhibit 3 [filed under seal] is a true and correct copy
17   of   Masimo      Corp.’s   Information    Security   Policy,   bearing   Bates   Numbers
18   MASA00075021-39 kept in the ordinary course of business and produced by Plaintiffs
19   in this case.
20          5.       Attached hereto as Exhibit 4 [filed under seal] is a true and correct copy
21   of Masimo Corp.’s Information Technology Training Policy & Procedure, bearing Bates
22   Numbers MASA03374156-157 kept in the ordinary course of business and produced by
23   Plaintiffs in this case.
24          6.       Attached hereto as Exhibit 5 [filed under seal] is a true and correct copy
25   of Masimo Corp.’s Server Security Policy, bearing Bates Numbers MASA00204597-
26   600 kept in the ordinary course of business and produced by Plaintiffs in this case.
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1           7.       Attached hereto as Exhibit 6 [filed under seal] is a true and correct copy
2    of Masimo Corp.’s Computer Equipment Acceptable Use Policy, bearing Bates
3    Numbers MASA00092077-80 kept in the ordinary course of business and produced by
4    Plaintiffs in this case.
5           8.       Attached hereto as Exhibit 7 [filed under seal] is a true and correct copy
6    of Masimo Corp.’s Email Use Policy bearing Bates Numbers MASA03252227-29 kept
7    in the ordinary course of business and produced by Plaintiffs in this case.
8           9.       Attached hereto as Exhibit 8 [filed under seal] is a true and correct copy
9    of Jereon Poeze’s lab notebook, bearing Bates Numbers MASA00086899-972 kept in
10   the ordinary course of business and produced by Plaintiffs in this case.
11          10.      Attached hereto as Exhibit 9 [filed under seal] is a true and correct copy
12   of Marcelo Lamego’s Masimo Corporation Employee Confidentiality Agreement,
13   executed June 26, 2000, bearing Bates Numbers MASA00085602-608 kept in the
14   ordinary course of business and produced by Plaintiffs in this case.
15          11.      Attached hereto as Exhibit 10 [filed under seal] is a true and correct copy
16   of Marcelo Lamego’s Masimo Corporation Employee Confidentiality Agreement,
17   executed January 28, 2003, bearing Bates Numbers MASA00123290-293 kept in the
18   ordinary course of business and produced by Plaintiffs in this case.
19          12.      Attached hereto as Exhibit 11 [filed under seal] is a true and correct copy
20   of Marcelo Lamego’s Masimo Employee Confidentiality Agreement, executed
21   January 31, 2005, bearing Bates Numbers MASA00085613-616 kept in the ordinary
22   course of business and produced by Plaintiffs in this case.
23          13.      Attached hereto as Exhibit 12 [filed under seal] is a true and correct copy
24   of the Amended and Restated Cross-licensing Agreement between Masimo Laboratories
25   and Masimo Corporation, effective January 1, 2007, bearing Bates Numbers
26   MASA0081231-272 kept in the ordinary course of business and produced by Plaintiffs
27   in this case.
28                                                -2-
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1            14.     Attached hereto as Exhibit 13 [filed under seal] is a true and correct copy
2    of Marcelo Lamego’s Masimo Labs Employee Confidentiality Agreement, executed
3    May 19, 2009, bearing Bates Numbers MASA00139543-546 kept in the ordinary course
4    of business and produced by Plaintiffs in this case.
5            15.     Attached hereto as Exhibit 14 [filed under seal] is a true and correct copy
6    of Cercacor Code of Business Conduct and Ethics, bearing Bates Numbers
7    MASA00204532-544 kept in the ordinary course of business and produced by Plaintiffs
8    in this case.
9            16.     Attached hereto as Exhibit 15 [filed under seal] is a true and correct copy
10   of   Masimo       Labs’s      Employee   Handbook      2009,   bearing   Bates   Numbers
11   MASA00131518-565 kept in the ordinary course of business and produced by Plaintiffs
12   in this case.
13           17.     Attached hereto as Exhibit 16 [filed under seal] is a true and correct copy
14   of Marcelo Lamego’s Employee Acknowledgement, signed January 21, 2014, bearing
15   Bates Number MASA00123202 kept in the ordinary course of business and produced
16   by Plaintiffs in this case.
17           18.     Attached hereto as Exhibit 17 [filed under seal] is a true and correct copy
18   of the transcript of the deposition of Marcelo Lamego, taken on July 12, 2022 in this
19   case.
20           19.     Attached hereto as Exhibit 18 [filed under seal] is a true and correct copy
21   of an email chain from Jesse Chen to Arun Panch, dated June 20, 2012, without
22   attachments, bearing Bates Numbers MASA03583636-637 kept in the ordinary course
23   of business and produced by Plaintiffs in this case.
24           20.     Attached hereto as Exhibit 19 [filed under seal] is a true and correct copy
25   of the transcript of the deposition of Steven Hotelling, taken on August 2, 2022 in this
26   case.
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28                                                -3-
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1           21.    Attached hereto as Exhibit 20 [filed under seal] is a true and correct copy
2    of an email
3           produced by Apple in this case bearing Bates Numbers APL-MAS_00403772-
4    784, marked as Deposition Exhibit 259.
5           22.    Attached hereto as Exhibit 21 [filed under seal] is a true and correct of
6    an
7    produced by Apple in this case bearing Bates Numbers APL-MAS_00434185-199.
8           23.    Attached hereto as Exhibit 22 [filed under seal] is a true and correct copy
9    of an email chain culminating in an email
10                                        produced by Apple bearing Bates Numbers APL-
11   MAS_00909102-134, marked Deposition Exhibit No. 260.
12          24.    Attached hereto as Exhibit 23 [filed under seal] is a true and correct copy
13   of an email chain culminating in an email
14                                                     bearing Bates Numbers MASA00085626-
15   628 kept in the ordinary course of business and produced by Plaintiffs in this case.
16          25.    Attached hereto as Exhibit 24 [filed under seal] is a true and correct copy
17   of an email chain culminating in an email
18          produced by Apple in this case bearing Bates Numbers APL-MAS_00433706-
19   710.
20          26.    Attached hereto as Exhibit 25 [filed under seal] is a true and correct copy
21   of an email
22                 produced by Apple in this case bearing Bates Number APL-
23   MAS_00359911.
24          27.    Attached hereto as Exhibit 26 [filed under seal] is a true and correct copy
25   of an email chain culminating in an email
26                              produced by Apple in this case bearing Bates Numbers APL-
27   MAS_00433808-810.
28                                               -4-
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1            28.   Attached hereto as Exhibit 27 [filed under seal] is a true and correct copy
2    of the transcript of the deposition of Michael O’Reilly, taken on September 22, 2022 in
3    this case.
4            29.   Attached hereto as Exhibit 28 is a true and correct copy of an email chain
5    culminating in an email from Marcelo Lamego to Tim Cook, dated October 2, 2013,
6    marked as Deposition Exhibit No. 5.
7            30.   Attached hereto as Exhibit 29 [filed under seal] is a true and correct copy
8    of an email chain culminating in an email
9                            produced by Apple in this case bearing Bates Numbers APL-
10   MAS_00332007-010.
11           31.   Attached hereto as Exhibit 30 [filed under seal] is a true and correct copy
12   of an                                                                          produced
13   by Apple in this case bearing Bates Numbers APL-MAS_01853759-795.
14           32.   Attached hereto as Exhibit 31 [filed under seal] is a true and correct copy
15   of an email chain culminating in an email
16                       , produced by Apple in this case bearing Bates Numbers APL-
17   MAS_00359986-987.
18           33.   Attached hereto as Exhibit 32 [filed under seal] is a true and correct copy
19   of an email chain culminating in an email
20                       produced by Apple in Masimo v. True Wearables, Case No. 8:18-
21   CV-02001-JVS-JDE, marked Exhibit No. 3418, and usable in this case pursuant to an
22   agreement between Plaintiffs and Apple.
23           34.   Attached hereto as Exhibit 33 [filed under seal] is a true and correct copy
24   of excerpts of Defendant Apple Inc.’s Supplemental Objections and Responses to
25   Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.’s Third Set of
26   Interrogatories to Defendant Apple Inc. (Nos. 11-13), dated October 7, 2022.
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28                                               -5-
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1            35.     Attached hereto as Exhibit 34 is a true and correct copy of a letter from
2    Steve Jensen to Tim Cook, dated January 24, 2014, bearing Bates Numbers
3    MASA03049141-42 kept in the ordinary course of business and produced by Plaintiffs
4    in this case.
5            36.     Attached hereto as Exhibit 35 [filed under seal] is a true and correct copy
6    of an email chain culminating in an email
7                                                       produced by Apple in this case bearing
8    Bates Numbers APL-MAS_00574531-542.
9            37.     Attached hereto as Exhibit 36 is a true and correct copy of U.S. Patent
10   Provisional Application No. 62/047,818, filed September 9, 2014, bearing Bates
11   Numbers MASA03238794-836 produced by Plaintiffs in this case.
12           38.     Attached hereto as Exhibit 37 is a true and correct copy of the file history
13   of U.S. Patent Application No. 14/621,268, filed February 12, 2015, issued as U.S.
14   Patent No. 10,219,754, bearing Bates Numbers MASA00086613-881 produced by
15   Plaintiffs in this case.
16           39.     Attached hereto as Exhibit 38 is a true and correct copy of U.S. Patent
17   No. 10,219,754, issued on March 5, 2019, bearing Bates Numbers MASA00086882-898
18   produced by Plaintiffs in this case.
19           40.     Attached hereto as Exhibit 39 [filed under seal] is a true and correct copy
20   of the transcript of the deposition of Walter M. Weber, taken on August 26, 2022 in this
21   case.
22           41.     Attached hereto as Exhibit 40 [filed under seal] is a true and correct copy
23   of an email from Joe Kiani to a Masimo listserv email address, dated February 9, 2007,
24   bearing Bates Number MASA03374353 kept in the ordinary course of business and
25   provided by Plaintiffs in this case.
26           42.     Attached hereto as Exhibit 41 [filed under seal] is a true and correct copy
27   of the transcript of the deposition of Tracy Miller, taken on June 16, 2022 in this case.
28                                                -6-
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1            43.   Attached hereto as Exhibit 42 [filed under seal] is a true and correct copy
2    of the transcript of the deposition of Germain Hammarth, taken on July 26, 2022 in this
3    case.
4            44.   Attached hereto as Exhibit 43 [filed under seal] is a true and correct copy
5    of an email chain culminating in an email from Arun Panch to Marcelo Lamego, et al.,
6    dated August 15, 2012, bearing Bates Numbers MASA03363036-039 kept in the
7    ordinary course of business and provided by Plaintiffs in this case.
8            45.   Attached hereto as Exhibit 44 [filed under seal] is a true and correct copy
9    of an email
10                 produced by Apple in this case bearing Bates Numbers APL-
11   MAS_00180664-679, marked Deposition Exhibit No. 142.
12           46.   Attached hereto as Exhibit 45 [filed under seal] is a true and correct copy
13   of an email
14                     produced by Apple in this case bearing Bates Numbers APL-
15   MAS_00430169-170.
16           47.   Attached hereto as Exhibit 46 [filed under seal] is a true and correct copy
17   of an email chain culminating in an email
18                        produced by Apple in this case bearing Bates Numbers APL-
19   MAS_00239728-733.
20           48.   Attached hereto as Exhibit 47 [filed under seal] is a true and correct copy
21   of a                                                                        produced by
22   Apple in this case bearing Bates Numbers APL-MAS_03081499.
23           49.   Attached hereto as Exhibit 48 [filed under seal] is a true and correct copy
24   of                                                                 produced by Apple in
25   this case bearing Bates Numbers APL-MAS_01890890-891, marked Deposition Exhibit
26   No. 14.
27
28                                              -7-
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1            50.   Attached hereto as Exhibit 49 [filed under seal] is a true and correct copy
2    of an email
3                            produced by Apple in this case bearing Bates Numbers APL-
4    MAS_00241566-568, marked Deposition Exhibit No. 143.
5            51.   Attached hereto as Exhibit 50 [filed under seal] is a true and correct copy
6    of an
7                                           project produced by Apple in this case bearing
8    Bates Numbers APL-MAS_01875995-998.
9            52.   Attached hereto as Exhibit 51 [filed under seal] is a true and correct copy
10   of an                            produced by Apple in this case bearing Bates Numbers
11   APL-MAS_01876011-012, marked Exhibit No. 267.
12           53.   Attached hereto as Exhibit 52 [filed under seal] is a true and correct copy
13   of an email
14           produced by Apple in this case bearing Bates Number APL-MAS_03081519.
15           54.   Attached hereto as Exhibit 53 [filed under seal] is a true and correct copy
16   of an email
17           produced by Apple in this case bearing Bates Number APL-MAS_03081548.
18           55.   Attached hereto as Exhibit 54 [filed under seal] is a true and correct copy
19   of an email
20                  produced by Apple in this casebearing Bates Number APL-
21   MAS_00430266.
22           56.   Attached hereto as Exhibit 55 [filed under seal] is a true and correct copy
23   of an email
24                 produced by Apple in this case bearing Bates Numbers APL-
25   MAS_00240437-442.
26           57.   Attached hereto as Exhibit 56 [filed under seal] is a true and correct copy
27   of an email chain culminating in an email
28                                               -8-
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1                        produced by Apple in this case bearing Bates Numbers APL-
2    MAS_00239962-964.
3            58.   Attached hereto as Exhibit 57 [filed under seal] is a true and correct copy
4    of an email chain culminating in an email
5                                             produced by Apple in this case bearing Bates
6    Numbers APL-MAS_01216557-560.
7            59.   Attached hereto as Exhibit 58 [filed under seal] is a true and correct copy
8    of an email                                                                 produced by
9    Apple in this case bearing Bates Numbers APL-MAS_00310721-722, marked
10   Deposition Exhibit No. 161.
11           60.   Attached hereto as Exhibit 59 [filed under seal] is a true and correct copy
12   of an email                                                          produced by Apple
13   in this case bearing Bates Numbers APL-MAS_00380415-417.
14           61.   Attached hereto as Exhibit 60 [filed under seal] is a true and correct copy
15   of an email chain culminating in an email
16                                               produced by Apple in this case bearing Bates
17   Numbers APL-MAS_00180415-447, marked Deposition Exhibit No. 162.
18           62.   Attached hereto as Exhibit 61 [filed under seal] is a true and correct copy
19   of the transcript of the deposition of Stephen Waydo, taken on August 11, 2022 in this
20   case.
21           63.   Attached hereto as Exhibit 62 [filed under seal] is a true and correct copy
22   of an
23                      produced by Apple in this case bearing Bates Numbers APL-
24   MAS_01974842-846.
25           64.   Attached hereto as Exhibit 63 [filed under seal] is a true and correct copy
26   of an
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28                                               -9-
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1                        produced by Apple in this case bearing Bates Numbers APL-
2    MAS_01975388-392.
3          65.     Attached hereto as Exhibit 64 [filed under seal] is a true and correct copy
4    of an email                                                                    produced
5    by Apple in this case bearing Bates Number APL-MAS_00710210, marked Deposition
6    Exhibit No. 239.
7          66.     Attached hereto as Exhibit 65 [filed under seal] is a true and correct copy
8    of an email                                                          produced by Apple
9    in this case bearing Bates Numbers APL-MAS_00498535-36, marked Deposition
10   Exhibit No. 238.
11         67.     Attached hereto as Exhibit 66 [filed under seal] is a true and correct copy
12   of excerpts of Defendant Apple Inc.’s Supplemental Objections and Responses to
13   Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.’s Fourth Set of
14   Interrogatories to Defendant Apple Inc. (Nos. 14-16), dated October 7, 2022.
15         68.     Attached hereto as Exhibit 67 [filed under seal] is a true and correct copy
16   listing Masimo’s Trade Secrets at issue in this motion.
17         69.     Attached hereto as Exhibit 68 [filed under seal] is a true and correct copy
18   of excerpts from Masimo laboratory notebooks from 2003-2005 kept in the ordinary
19   course of business and produced by Plaintiffs in this case.
20         70.     Attached hereto as Exhibit 69 is a true and correct copy of excerpts of a
21   Masimo webpage regarding its 2012 Press Releases, captured on March 3, 2014, bearing
22   Bates Numbers MASA11073197-203 kept in the ordinary course of business on
23   Masimo’s webpage in 2014 and produced by Plaintiffs in this case.
24         71.     Attached hereto as Exhibit 70 [filed under seal] is a true and correct copy
25   of an email
26                            produced by Apple in this case bearing Bates Number APL-
27   MAS_01831295.
28                                             -10-
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1               72.   Attached hereto as Exhibit 71 [filed under seal] is a true and correct copy
2    of an email
3                           bearing Bates Numbers MASA03046494 and MASA03046497-1 to
4    97-2.
5               73.   Attached hereto as Exhibit 72 [filed under seal] is a true and correct copy
6    of an email chain culminating in an email
7                      bearing Bates Numbers MASA03583894-896 kept in the ordinary course
8    of business and produced by Plaintiffs in this case.
9               74.   Attached hereto as Exhibit 73 is the curriculum vitae of Vijay Madisetti,
10   Ph.D.
11              75.   Attached hereto as Exhibit 74 is the Pronto-7 Operator’s Manual, bearing
12   Bates Numbers MASA00014687-736 kept in the ordinary course of business and
13   produced by Plaintiffs in this case.
14
15              I declare under penalty of perjury under the laws of the United States that the
16   foregoing is true and correct.
17              Executed on December 19, 2022, at Irvine, California.
18                                              /s/ Kendall M. Loebbaka
                                               Kendall M. Loebbaka
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